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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
 LAURI ANN HOCH,
                                                                Case No. 1:16-cv-00405
                 Plaintiff,                                     Hon. Gordon J. Quist
 v.

 SETERUS, INC.,

                 Defendant.
                                                                                               /

                      STIPULATED ORDER OF DISMISSAL
           WITH PREJUDICE AND WITHOUT COSTS OR ATTORNEYS’ FEES

         The parties, by their respective attorneys, having stipulated to the matters contained herein,

 and the Court being otherwise fully advised in the premises;

         IT IS ORDERED that the above-captioned action is hereby dismissed with prejudice and

 without costs or attorneys' fees as to all parties;

         IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this action to

 enforce the terms of the Confidential Settlement and Release Agreement executed by the parties.

         SO ORDERED.



 Dated:_________________                               ________________________________
                                                       GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE
Case 1:16-cv-00405-GJQ-PJG ECF No. 131, PageID.2328 Filed 10/18/19 Page 2 of 2




 STIPULATED TO BY:

                                    WESTBROOK LAW PLLC
 Dated: October 17, 2019

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